Information to identify the case:
Debtor 1            Mary Sylvia Drobot                                                   Social Security number or ITIN       xxx−xx−2437
                    First Name    Middle Name      Last Name



United States Bankruptcy Court         District of New Mexico
                                                                                         Date case filed for chapter 7 4/27/20
Case number:       20−10851−j7


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                            About Debtor 1:                                           About Debtor 2:

1.     Debtor's full name                   Mary Sylvia Drobot

2.     All other names used in the
       last 8 years

3.     Address                              8427 La Ventura Ct NW
                                            Albuquerque, NM 87120

4.     Debtor's attorney                    Joel Alan Gaffney
       Name and address                     Gaffney Law, PC
                                            6565 America's Parkway #200
                                            Albuquerque
                                            Albuquerque, NM 87110
                                            Contact phone (505) 563−5508
                                            Email joel@gaffneylaw.com

5.     Bankruptcy Trustee                   Edward Alexander Mazel                                    Contact phone 505−228−6042
       Name and address                     Edward Mazel Trustee
                                            PO Box 21151                                              Email trustee@lawmazel.com
                                            Albuquerque, NM 87154
                                                                                                              For more information, see page 2 >
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Debtor Mary Sylvia Drobot                                                                                              Case number 20−10851−j7


6. Bankruptcy clerk's office                    Pete V. Domenici U.S. Courthouse                             Hours open 8:30 AM to 4:30 PM
                                                333 Lomas Blvd. NW, Suite 360
    Documents in this case may be filed at this Albuquerque, NM 87102                                        Contact
    address. You may inspect all records filed                                                               phone 505−415−7999/866−291−6805
    in this case at this office or online at
    www.pacer.gov.                                                                                           Court Website www.nmb.uscourts.gov


7. Meeting of creditors                          May 29, 2020 at 08:30 AM                                    Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              AT THE TIME SHOWN CALL:
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            1−877−691−4540, Passcode:
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                     6164851, after joining the call,
                                                                                                             press *6 to mute/unmute.

8. Presumption of abuse                          The presumption of abuse arises.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 7/28/20
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or
                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).

                                                 Deadline to File Certification About a Financial Filing deadline: 7/28/20
                                                 Management Course:

                                                 • You must file a statement that you have completed
                                                   the personal financial management course pursuant
                                                   to Federal Rule of Bankruptcy Procedure 1007(c).



                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
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